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                 EXHIBIT 1
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From:            Ramona Cotca
To:              Konkoly, Antonia (CIV)
Subject:         Re: JW v. DOJ -- proposed briefing schedule
Date:            Thursday, November 5, 2020 12:24:10 PM



Toni-

I don't have objections to the request to move the briefing back, except I would need to push
my deadline to Feb. 16 from the Feb. 9 proposed date due to other conflicts. Of course, I
would be fine with the remaining deadlines being pushed by one week also. Let me know if
that works with your schedule.

With respect to your question about redactions, Judicial Watch has agreed to substantially
narrow the withholdings it will challenge in this litigation. The withholdings contested are in
the record we raised during the meet and confer, page 5 of the April 10, 2020 production. You
provided a complete copy of the record in your Oct. 19 email, bearing Bates numbers CRM
029-030. Judicial Watch contest all of the withholdings in the email chain. If you have any
questions, please let me know. Please also confirm if you are taking lead on drafting the JSR
due tomorrow.

Thanks,

Ramona R. Cotca
Judicial Watch, Inc.


From: Konkoly, Antonia (CIV) <Antonia.Konkoly@usdoj.gov>
Sent: Thursday, November 5, 2020 12:15 PM
To: Ramona Cotca <rcotca@JUDICIALWATCH.ORG>
Subject: RE: JW v. DOJ -- proposed briefing schedule
Hi Ramona,
FBI has requested that we push the briefing schedule back by about 30 days. I’m checking on the
reasons, though I assume they have either partly or substantially to do with the pandemic and
holidays. Would you be amenable this proposal instead?
    · Govt MSJ: Jan. 12
    · JW opp & x-MSJ: Feb. 9
    · Govt. opp & reply: Mar. 2
    · JW reply: Mar. 16
Thanks,
Toni
From: Ramona Cotca <rcotca@JUDICIALWATCH.ORG>
Sent: Tuesday, November 03, 2020 1:02 PM
To: Konkoly, Antonia (CIV) <ankonkol@CIV.USDOJ.GOV>
Subject: Re: JW v. DOJ -- proposed briefing schedule
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Thank you, Toni. This proposal looks fine to me.
Regarding the challenges, Judicial Watch will challenge the searches but I am waiting to confirm with
my client about what redactions are at issue, if any. I will let you know by the time you return
Thursday.
Thank you,

Best regards,
Ramona R. Cotca



      On Nov 2, 2020, at 3:02 PM, Konkoly, Antonia (CIV) <Antonia.Konkoly@usdoj.gov>
      wrote:


      Hi Ramona,
      I’ve also got a pretty busy November, including a substantial deadline on the
      Wednesday before Thanksgiving (11/25). Between my schedule and yours, how does
      this schedule look to you?
           · Govt MSJ: Dec. 11
           · JW opp & x-MSJ: Jan. 8
           · Govt. opp & reply: Jan. 29
           · JW reply: Feb. 12
      I’m still confirming that none of the agency counsel whose input and assistance I’ll
      need on the filing have any conflicts that might requirement adjustment – but since I
      will be out of the office tomorrow and Wednesday, I wanted to send this tentative
      scheduling proposal before I leave.
      Also, for purposes of creating a clean record for MSJ briefing (and making sure we
      cover all necessary bases in our filing) – when you respond, can you please clarify
      exactly what JW is still challenging, following our conferral?
      Thanks,
      Toni
      Antonia Konkoly
      Trial Attorney
      U.S. Department of Justice
      Civil Division | Federal Programs Branch
      Direct line: (202) 514-2395
      email: Antonia.Konkoly@usdoj.gov
